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                                                                                 N.D. OF ALABAMA




                                 Exhibit “C”




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